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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                Plaintiff,

 v.                                                                     Criminal No. 5:17CR20


 DR. ROLAND F. CHALIFOUX, JR.,

                Defendant.

       UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION TO STRIKE AND
              MOTION FOR RELIEF FROM A JUDGEMENT OR ORDER

         Comes now the United States of America and William J. Powell, United States Attorney

 for the Northern District of West Virginia, by Sarah E. Wagner, Assistant United States Attorney,

 and responds to the Defendant’s Motion to Strike (dkt. no. 99) and files this Motion for Relief

 From a Judgement or Order pursuant to Rule 60 of the Federal Rules of Criminal Procedure. In

 support of its Response and Motion, the government avers as follows:

         1. The pretrial diversion agreement which was attached to the government’s Motion to

 Authorize Clerk to Accept and Disburse Restitution Payments (doc. 92) was the partially signed,

 pretrial diversion agreement between the defendant and the government. At the time the United

 States filed the agreement, it contained the following language:

            After successfully completing your Pretrial Diversion Program and fulfilling all the
            terms and conditions of the Agreement, no prosecution for the above referenced offense
            will be instituted in this District, and the charges against you, if any, will be dismissed.

 See Partially Signed Pretrial Diversion Agreement (“Partially Signed Agreement”) (dkt. no. 92-

 2).
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        2. After the partially signed pretrial diversion agreement was initially filed, but before the

 government filed its Motion to Dismiss (dkt. no. 95), certain changes were made to the pretrial

 diversion agreement at the request of the United States Probation Office and the defendant. These

 changes included the following revision to the above-referenced paragraph in the agreement:

        After the Agreement is fully executed, the United States will move to dismiss the pending
        indictment without prejudice. After successfully completing your Pretrial Diversion
        Program and fulfilling all the terms and conditions of the Agreement, no prosecution for
        the above referenced offense will be re-instituted in this District.

 See Executed Pretrial Diversion Agreement (“Final Agreement”) (dkt. no. 95-1).

        3. The Final Agreement is the exclusive, controlling agreement between the

 parties, including the United States Probation Officer.

        4. The Court’s Order Denying Without Prejudice the Unopposed Motion to Dismiss of

 the United States (dkt. no. 98) appears to mistakenly or inadvertently reference language contained

 in the Partially Signed Agreement instead of the Final Agreement.

        5. The government agrees with the defendant’s representation that the intent of the parties

 was for an immediate dismissal following the execution of the Final Agreement.

        6. The government does not object to an immediate dismissal, which was the purpose of

 the government’s filing of the Motion to Dismiss.

        7. The government does not believe that any additional change to the language of the

 pretrial diversion agreement is necessary.

        8. The government does not believe that a hearing in this matter is necessary because the

 parties do not dispute any material facts or law.

        9. Rather, the government believes that this Court should reconsider its ruling on the
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 Motion to Dismiss because it mistakenly relied on the Partially Signed Agreement instead of the

 Final Agreement, which is the controlling agreement of the parties.

        WHEREFORE, for the foregoing reasons, the United States requests that this Court deny

 the defendant’s Motion to Strike, grant the government’s Motion for Relief from a Judgment or

 Order, and grant the government’s Motion to Dismiss the Remaining Counts of the Indictment.

                                             Respectfully submitted,

                                             WILLIAM J. POWELL
                                             United States Attorney

                                             /s/ Sarah E. Wagner
                                             By: Sarah E. Wagner
                                             Assistant United States Attorney
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                                    CERTIFICATE OF SERVICE

        I, Sarah E. Wagner, Assistant United States Attorney for the Northern District of West

 Virginia, hereby certify that I electronically hereby certify I electronically filed the foregoing with

 the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

 counsel for the defendant this 16th day of November, 2018.




                                     By:   /s/ Sarah E. Wagner
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